          CASE 0:21-cv-02020-JRT-LIB Doc. 7 Filed 12/03/21 Page 1 of 1



                            UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
_____________________________________________________________________

  ROBERT KANTARIS,
                                                        Civil No. 21-2020 (JRT/LIB)
                       Petitioner,

  v.                                                    ORDER ADOPTING REPORT
                                                        AND RECOMMENDATIONS
  B. BIRKHOLZ, Warden of Federal Prison
  Camp Duluth; and MICHAEL CARVAJAL,
  Director of the Federal Bureau of Prisons,
  in their official capacities,

                       Respondents.

________________________________________________________________________

       Robert Kantaris, 16762-029, FPC – Duluth, P.O. Box 1000, Duluth, MN
       55814, Petitioner.

       Ana H Voss and Ann M. Bildtsen, Assistant United States Attorneys, UNITED
       STATES ATTORNEY'S OFFICE, 300 S 4th St Ste 600, Minneapolis, MN 55415, for
       Respondent.

       Based upon the Report and Recommendation of United States Magistrate Judge

Leo I. Brisbois, and after an independent review of the files, records and proceedings in

the above-entitled matter, IT IS HEREBY ORDERED that:

          1. This action is DISMISSED WITHOUT PREJUDICE under Federal Rule of Civil

             Procedure 41(b) for failure to prosecute

             LET JUDGMENT BE ENTERED ACCORDINGLY.

Dated: December 3, 2021                  s/John R. Tunheim
at Minneapolis, Minnesota                JOHN R. TUNHEIM
                                         Chief Judge
                                         United States District Court
